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                    EXHIBIT Q
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               David S. Torborg/JonesDay           To “Draycott, Justin (CIV)” <Justin. Draycottusdojgov>
               Extension 4-5562
               08/14/2009 09:31 AM
                                                 bcc David S. Torborg/JonesDay
                                              Subject Outstanding depositions
    History:             This message has been forwarded.

Justin,

Attached is a copy of the July 13 letter I sent you asking for dates and witness names with
                                                                                            respect to the
30(b)(6) depositions ordered by the Court, as well as the outstanding DPP lines of questioning
                                                                                                and the Ira
Burney deposition. I understand that we all are busy on briefing various motions and that we
                                                                                               must adjust
our deposition schedule accordingly. Still, we really need to get these depositions on the calendar
                                                                                                     so that
they can be completed in the next two months. At the very latest, we need to complete
                                                                                         these depositions
at least a week before the summary judgment hearing scheduled for October 20th.

Thanks,
-David



     -   09-07-13 Torborg Ltr re Outstanding Depositions.pdf


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